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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )      Case No. 1:08CR00024-032
                                                )
v.                                              )             ORDER
                                                )
ANTHONY EUGENE DUTY,                            )      By: James P. Jones
                                                )      United States District Judge
                  Defendant.                    )


       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the Motion to Dismiss (ECF No. 2936) is GRANTED; the

defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C.A. § 2255 (ECF No. 2912) is DENIED as meritless; and the § 2255

proceeding is stricken from the active docket of the court.

         Based upon the court’s finding that the defendant has not made the

requisite showing of denial of a substantial right, a certificate of appealability is

DENIED.

                                             ENTER: July 25, 2013

                                             /s/ James P. Jones
                                             United States District Judge
